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I'm giving you this historical gift because I don't want a guy like you to ever lose faith In the fight against
good vs. evil. Keep this someplace safe as it could never be replaced.

When my element that was with Task Force 145 obtained intelligence on the whereabouts of Ahmed
Fadhil Nazzal al-Khalayleh, more infamously known as the Iraq leader of al-Qaeda, Abu Musab al-
Zarqawi, two 500 pound laser guided bombs were dropped on his two-story safe house killing him and
several other insurgents. When we pulled his body from the destruction, I pulled this from his pocket
and kept it. It's a simple Jordanian set of wooden prayer beads but more than that, it's a piece of
history. Keep it and pull it out at times when you need to reconfirm your beliefs in the bigger picture.

The day we met you asked me to tell you about myself. Had it been just you and I, I would have told you
a few things abourme thatTdon't tellasa rule of thumb. lanrrEhe guy everyone looks atfor strength
and leadership, so showing any sign of struggle or weakness is not an option. Tm telling you because I
think If you are looking at us doing something on a grand scale together, than you need to know more
about me and what makes me tick.

Like you, I grew up in a rough area, single parent, never met my father and had a hard life growing up.
What saved me was intelligence and exceptional athletic ability. 23 years later I have made a career out
of outsmarting the bad guys using those talents and have always led my people by example, hard work,
dedication, and above all, loyalty. Tm not getting rich fighting the bad guys and the trade off is I have a
lot of people who would follow me into a gun fight carrying only sticks. I made a commitment to my
country to protect and preserve our way of life so my children and your children can live a happy and
secure life.

Tm not swimming in money and know that my next step in life is going to have to be about building
financial stability. Doing what I do now in the govt, sector would never allow that. I share all of the
money I make in the private sector with my guys, my family, and people who need It. I have a sister who
is battling terminal cancer and has been a financial burden on me because she had no insurance and to
get her the best care costs money, lots of money. Tm graying for my nephew that 1 have raised since he
was 12 years old to get his PhD and supporting my aunt who has ALS so she can be comfortable In her
final "years. My wife and daughter accept that! am thisway arid are ok when we have "to make personal "
sacrifices in order for others to be taken care of.

Don't take any of this as a sob story or a poor me because it's not I want you to know the person I am
beyond being a "stone cold killer" because there is more to me than meets the eye. My loyalty is fierce
to the point that if you called me right now and needed anything I'd make it happen no matter the risks
or stakes involved. If you are asking yourself why Tm telling you all of this, the reason Is simple; you
could have easily been me in another life and I could have been you. If we move forward with our
discussions, 1 just want you to know who you are moving forward with beyond the persona Tm known
for.

v/r- Matt Marshall




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